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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:06-cr-07-03

v.                                                     HON. ROBERT HOLMES BELL

JOHN JOSEPH HEDRICH,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 14, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant JOHN JOSEPH HEDRICH entered a plea of guilty to Count 6 of the Second

Superseding Indictment, charging defendant with Possession with Intent to Distribute a Controlled

Substance, to-wit: Mixture or Substance Containing Cocaine in violation of 21:841(a)(1) and

841(b)(1)(C), in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force, threats,

or promises, apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to 6 of the Second Superseding

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. It is further recommended that

the order setting conditions of defendant's release remain in effect pending sentencing. Acceptance

of the plea, adjudication of guilt, acceptance of the plea agreement, determination of defendant's

status pending sentencing, and imposition of sentence are specifically reserved for the district judge.



Date: August 14, 2006                                   /s/ Timothy P. Greeley
                                                       TIMOTHY P. GREELEY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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